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 UNITED STATES DISTRICT COURT
 WESTERN DISTRICT OF NEW YORK

 DEANNA MARLENE BELLAVIA aka
 DEANNA KING,

                               Plaintiff,                          NOTICE OF MOTION
                                                                       TO SEAL
              vs.

 ORLEANS COUNTY, ORLEANS COUNTY SHERIFF’S                            Case No.: 22-CV-842
 DEPARTMENT, ORLEANS COUNTY DISTRICT
 ATTORNEY, COREY BLACK, DEPUTY JOHN DOE,
 and DAVID BELLAVIA,

                               Defendant.


         PLEASE TAKE NOTICE, that, upon the Declaration of Donald W. O'Brien, Jr., Esq.,
dated December 22, 2022, with exhibit annexed thereto, Defendant, David Bellavia ("Mr.
Bellavia") will move this Court, pursuant to Rule 5.3 of the Local Rules of Civil Procedure for the
United States District Court for the Western District of New York and Guideline 2(R)(i) of the
Administrative Procedures Guide, for an order sealing the following documents generated in
connection with the divorce proceeding between Mr. Bellavia and the Plaintiff: (1) the Judgment of
Divorce, dated December 28, 2021 ("the Judgment"), (2) the parties written Custody, Support and
Property Settlement Agreement filed December 7, 2021 (“the Agreement”), (3) the Decision and
Order filed on February 4, 2021 ("the First Protective Order"), and (4) and the Second Protective
Order filed on March 11, 2021 ("the Second Protective Order" (collectively, "the Divorce
Documents"). The moving party requests an opportunity to reply.


Dated: December 22, 2022
Rochester, New York

                                                     WOODS OVIATT GILMAN LLP

                                                     By:    /s/ Donald W. O’Brien
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                                                            Attorneys for Defendant
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